          Case 4:23-cr-00101-BSM Document 6 Filed 04/28/23 Page 1 of 1
                                         MJStar Reporting:INITIAL APPEARANCE, Length of Hearing(minutes):
                                                               ARRAIGNMENT, Length of Hearing (minutes):
                                                                                                            ----1,1, -81--+---
                                                                                                               __ _




                                                                                                             FILED
                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF ARKANSAS
                                                                                                    U.S. DISTRICT COURT
United States of America                                                                        EASTERN DISTRICT ARKANSAS

                                                                                                        Apr 28, 2023
V.                                            Case No.: 4:23CR00101-0l BSM                      Tammy H. Downs, Clerk
                                                                                                 By: ForrestDunn D.C.
                                                                                            By:---------=--�
Candace Chapman Scott                                                                                                            DEP CLERK

                                  PLEA AND ARRAIGNMENT REPORT

 Plea Date: 4/28/2023                                            . _~
                                                             e t 1s
                                                            Df         _ 1s not__ .m custo dy
 Continued Until: - - - - - - -                             _ _ Deft did not appear
 Reason for continuance- - --                                       Clerk to issue warrant

                                                   COUNSEL

Assistant U.S. Attorney:   AmandaJ egley
Defense Counsel:                5e{A.....
                                (2'([W~                 (Appointed/ Retained)
Interpreter's Name: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                                      PLEA

TRIAL BEFORE DISTRICT COURT                                    CONSENTS TO TRIAL BEFORE MAGST.

Not Guilty_~- - - - - -- - - --                                Not Guilty- - - - - - -- - -- -
Guilty (indicates desire) _ _ _ _ _ _ __                       Guilty - - - - - - - - - - - - -
Nolo Contendere (desire)- - -- - - -                           Nol o Contendere - - -- - - -- -
          ,......
     V"               Demands Trial by Jury                    -   - - - - -Waives Jury Trial
                                                                      Deft agrees- - - - - - -
                                                                      Govt agrees- - - -- - -


                                                                      Date:
                                                                              ------------

~                        _ _ _ _ _ By: _ _ _ _ __ _ _ _ _ _ Date: _ _ _ _ _ __


Number of Days estimated for Trial: 5 days
Estimated Trial Date: 5/30/2023@ 9:30 a.m., before the Honorable Judge Brian S. Miller in
Room 2D. All Pretrial Motions to be filed within the time specified within the Pretrial
Discovery Order, to be entered forthwith.

Other: - - - - ~ - - - - - - - -- -- - - - -- -.--- - - -- -------.....,---

 DATE:              4/28/2023
